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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                    Plaintiffs,                                4:14CR3020
      vs.
                                                   MEMORANDUM AND ORDER
BENJAMIN M. MARTIN, AUDREY
GLENN,
                    Defendants.


      Defendant Audrey Glenn has moved to continue the pretrial motion deadline,
(filing no. 39), because the defendant and defense counsel need additional time to fully
review discovery and investigate this case before deciding if pretrial motions should be
filed. The motion to continue is unopposed. Based on the showing set forth in the
motion, the court finds the motion should be granted. Accordingly,

      IT IS ORDERED:

      1)     Defendant Audrey Glenn’s motion to continue, (filing no. 39), is granted.

      2)     As to both defendants, pretrial motions and briefs shall be filed on or
             before May 28, 2014.

      3)     As to both defendants, trial of this case remains continued pending
             resolution of any pretrial motions filed.

      4)     The ends of justice served by granting the motion to continue outweigh the
             interests of the public and the defendants in a speedy trial. Accordingly, as
             to both defendants, the additional time arising as a result of the granting of
             the motion, the time between today’s date and May 28, 2014, shall be
             deemed excludable time in any computation of time under the requirements
             of the Speedy Trial Act, because despite counsel’s due diligence, additional
             time is needed to adequately prepare this case for trial and failing to grant
             additional time might result in a miscarriage of justice. 18 U.S.C. §
             3161(h)(1), (h)(6) & (h)(7).

      April 28, 2014.                           BY THE COURT:
                                                s/ Cheryl R. Zwart
                                                United States Magistrate Judge
